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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

DEMI KOSTKA et al.,           §
                              §
          Plaintiffs,         §
                              §
v.                            §                   Civil Action No. 3:20-CV-3424-K
                              §
DICKEY’S BARBEQUE RESTAURANTS §
et al.,                       §
                              §
          Defendants.         §
LATORSHA ADAMS, et al.,       §
                              §
          Plaintiffs,         §
                              §
v.                            §                   Civil Action No. 3:20-CV-3603-K
                              §
DICKEY’S BARBEQUE RESTAURANTS §
et al.,                       §
          Defendants,         §
TAMMY JEARY, et al.,          §
                              §
          Plaintiffs,         §
                              §
v.                            §                   Civil Action No. 3:21-CV-0137-K
                              §
DICKEY’S BARBEQUE RESTAURANTS §
et al.,                       §
          Defendants,         §

                         ORDER OF CONSOLIDATION

      Before the Court is Plaintiffs’ Motion and Incorporated Brief in Support of

Motion for Consolidation Pursuant to Fed. R. Civ. P. 42, and Appointment of Interim

Co-Lead Counsel and Liaison Counsel Pursuant to Fed. R. Civ. P. 23(g) (Doc. No. 36),

filed on March 12, 2021. The Motion is GRANTED only as to CONSOLIDATION,
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and the Court ORDERS that Case Nos. 3:20-CV-3424-K, 3:20-CV-3603-K and 3:21-

CV-0137-K, are hereby CONSOLIDATED. All future filings shall be filed in Case

No. 3:20-CV-3424-K. The Court DEFERS ruling on the Motion with respect to the

appointment of interim co-lead counsel and liaison counsel until the Motion is

fully briefed since the Certificate of Conference indicates opposition.

      SO ORDERED.

      Signed March 19th, 2021.


                                        ______________________________________
                                        ED KINKEADE
                                        UNITED STATES DISTRICT JUDGE
